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                           1
                                [SEE SIGNATURE BLOCKS FOR COUNSEL INFORMATION]

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                           9                             UNITED STATES DISTRICT COURT
                          10                           CENTRAL DISTRICT OF CALIFORNIA
                          11                                        SOUTHERN DIVISION
RUSS, AUGUST & KABAT




                          12

                          13   SPEX TECHNOLOGIES, INC.,
                                                                              Case No. 8:16-CV-01790-JVS-AGR
                          14                           Plaintiff,
                                                                              JOINT STATUS REPORT
                          15                                                  REGARDING TERMINATION OF
                                               v.                             INTER PARTES REVIEW
                          16                                                  PROCEEDINGS AND REQUEST
                               KINGSTON TECHNOLOGY                            FOR A STATUS CONFERENCE
                          17
                               CORPORATION, KINGSTON
                          18   DIGITAL, INC., KINGSTON
                          19   TECHNOLOGY COMPANY, INC.,
                               IMATION CORPORATION,
                          20   DATALOCKER INC., DATA
                          21   LOCKER INTERNATIONAL, LLC,
                          22                           Defendants.
                          23

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                                 JOINT STATUS REPORT REGARDING INTER PARTES
                                 REVIEW PROCEEDINGS
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                           1
                               SPEX TECHNOLOGIES, INC.,
                                                                              Case No. 8:16-CV-01799-JVS-AGR
                           2                           Plaintiff,
                           3
                                               v.
                           4

                           5   WESTERN DIGITAL
                               CORPORATION, WESTERN
                           6   DIGITAL TECHNOLOGIES, INC.,
                           7   HGST, INC.,

                           8                Defendants.
                           9   SPEX TECHNOLOGIES, INC.,
                                                                              Case No. 2:16-CV-07349-JVS-AGR
                          10                           Plaintiff,
                          11
RUSS, AUGUST & KABAT




                                               v.
                          12

                          13   APRICORN, INC.,

                          14                           Defendant.
                          15
                               SPEX TECHNOLOGIES, INC.,
                                                                              Case No. 2:16-CV-01800-JVS-AGR
                          16
                                                       Plaintiff,
                          17

                          18                   v.
                          19
                               TOSHIBA AMERICA
                          20   ELECTRONIC COMPONENTS,
                          21
                               INC., TOSHIBA AMERICA
                               INFORMATION SYSTEMS, INC.,
                          22   TOSHIBA AMERICA, INC.,
                          23
                               TOSHIBA CORPORATION

                          24                         Defendants.
                          25

                          26

                          27

                          28
                                 JOINT STATUS REPORT REGARDING INTER PARTES
                                 REVIEW PROCEEDINGS
                       Case 8:16-cv-01790-JVS-AGR Document 162 Filed 05/13/19 Page 3 of 22 Page ID #:2671



                           1           Plaintiff SPEX Technologies, Inc. (“SPEX”), and Defendants Kingston

                           2    Technology Corporation, Kingston Digital, Inc., Kingston Technology Company,
                           3
                                Inc. (collectively, “Kingston”), Western Digital Corp., Western Digital
                           4

                           5    Technologies, Inc., and HGST, Inc. (collectively “Western Digital”), Apricorn, Inc.,

                           6    and Toshiba America Electronic Components, Inc., Toshiba America Information
                           7
                                Systems, Inc., and Toshiba Corporation (collectively “Toshiba”) (Kingston, Western
                           8

                           9    Digital, Apricorn, and Toshiba are collectively “Defendants”) submit this joint

                          10    report regarding the status of the Inter Parties Review petitions submitted by
                          11
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                                Defendants.
                          12

                          13           On May 16, 2018, the Court issued an Order Granting Defendants’ Motions

                          14    to Stay, staying these actions pending the issuance of the Final Written Decisions in
                          15
                                all of the IPR proceedings. These IPR proceedings include: (1) an IPR proceeding
                          16

                          17    as to the ’802 patent, originally brought by Western Digital but in which all
                          18    Defendants joined; (2) multiple IPR proceedings as to the ’135 patent brought by
                          19
                                Kingston; and (3) an IPR proceeding as to the ’135 patent, originally brought by
                          20
                          21    Western Digital in which all Defendants except for Kingston were allowed to join.
                          22           The Board has made final determinations in each of the IPRs. With respect
                          23
                                to the proceeding brought against the ‘802 patent, the PTAB found claims 38 and 39
                          24

                          25    unpatentable, but did not find claims 1, 2, 6, 7, 11, 12, 23, 24, and 25 to be
                          26

                          27

                          28
                                 JOINT STATUS REPORT REGARDING INTER PARTES   1
                                 REVIEW PROCEEDINGS
                       Case 8:16-cv-01790-JVS-AGR Document 162 Filed 05/13/19 Page 4 of 22 Page ID #:2672



                           1    unpatentable in view of the evidence and arguments it considered.1 With respect to

                           2    the proceedings against the ‘135 patent brought by Kingston, the PTAB found claim
                           3
                                58 unpatentable, but did not find claims 55, 56, and 57 unpatentable over the prior
                           4

                           5    art in those proceedings. With respect to the proceeding against the ’135 patent

                           6    originally brought by Western Digital, the PTAB denied Kingston’s motion to join
                           7
                                and dismissed the “copycat” petition filed by Kingston in order to join the
                           8

                           9    proceeding in view of the Board’s determination that Kingston was estopped as a

                          10    result of its previous IPR proceedings.            The Board then terminated the IPR
                          11
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                                proceeding against the ’135 patent originally brought by Western Digital in view of
                          12

                          13    a settlement agreement reached between Western Digital, Toshiba, Apricorn, and

                          14    SPEX.
                          15
                                          Currently, both the ‘135 patent and the ‘802 patent are asserted against
                          16

                          17    Kingston, while only the ‘802 patent is asserted against the remaining Defendants.
                          18    The Court dismissed with prejudice the disputes between the non-Kingston
                          19
                                Defendants and SPEX regarding the ’135 Patent.
                          20
                          21              The parties disagree as to whether an additional stay, pending the appeals of
                          22    the various IPR proceedings, is appropriate. The parties’ positions are detailed
                          23
                                below.
                          24

                          25

                          26    1
                                  Claims 6, 7, 23, and 25 are indefinite in view of the Court’s construction of the “means for
                          27    providing” limitation, and the Board was unable to construe the “similar recitation” in claim 24
                                for the same reason. See Dkt. No. 65 at 38-43 (holding that the “means for providing” limitation
                          28    in claims 6, 7, 23, and 25 is indefinite); Case IPR2018-00082, Paper No. 40 at 38-39 (regarding
                                “similar recitation”).
                                 JOINT STATUS REPORT REGARDING INTER PARTES       2
                                    REVIEW PROCEEDINGS
                       Case 8:16-cv-01790-JVS-AGR Document 162 Filed 05/13/19 Page 5 of 22 Page ID #:2673



                           1              SPEX’S POSITION

                           2              According to the Court’s May 16, 2018 Order, with the issuance of the Final
                           3
                                Written Decision on April 18, 2019, the stay is now lifted. See, e.g., Case No. 2:16-
                           4

                           5    cv-07349, Dkt. No. 75 (“[T]hese proceedings are stayed pending the PTAB’s

                           6    issuance of its Final Written Decisions. . . . The stay is only through the issuance of
                           7
                                the PTAB’s decisions.”). SPEX requests that the Court set a scheduling conference,
                           8

                           9    and order the parties to negotiate a new case schedule through trial in advance of the

                          10    scheduling conference.
                          11
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                                          Defendants’ request for an additional stay should be denied. These cases were
                          12

                          13    filed in 2016 and have already been stayed for nearly a year pending the issuance of

                          14    the Final Written Decisions. Any further stay is inconsistent with the provision to
                          15
                                “secure the just, speedy, and inexpensive determination of every action and
                          16

                          17    proceeding.” Fed. R. Civ. P. 1. Nor is there is any reason to believe that the parties
                          18    will be in a different position after the resolution of the appeals. The likelihood of
                          19
                                Defendants’ success in any appeal is less than 25%. In 2018, the Federal Circuit
                          20
                          21    affirmed 77% of the PTAB’s decisions.2 Further, if the Court were to institute a new
                          22    stay through the resolution of Defendants’ appeals, the schedule could be delayed
                          23
                                for at least another year, if not longer.3 The potential prejudice to SPEX’s ability to
                          24

                          25    adequately try its claims against Defendants remains due to the continuing health
                          26

                          27    2     https://www.perkinscoie.com/images/content/2/1/v3/216639/Fed.-Circ.-Patent-Decisions-In-
                          28    2018-An-Empirical-Review.pdf at 2.
                                3 Id. at 7 (median time for disposition of an appeal to the Federal Circuit was 14 months in 2018).
                                  JOINT STATUS REPORT REGARDING INTER PARTES      3
                                    REVIEW PROCEEDINGS
                       Case 8:16-cv-01790-JVS-AGR Document 162 Filed 05/13/19 Page 6 of 22 Page ID #:2674



                           1    status of some of the potential witnesses at trial. E.g., Case 8:16-cv-01799, Dkt. 87-

                           2    8 (declaration of Burton Tregub detailing his cancer diagnosis and treatments), Dkt.
                           3
                                87 at 14 (discussing Mr. Bialick’s testimony regarding his cancer diagnosis).
                           4

                           5           Defendants argue that the dismal statistics as to the likelihood of success of

                           6    their appeals should be ignored because they raise issues with trial management
                           7
                                decisions made by the PTAB, and such appeals are more likely to succeed. This is
                           8

                           9    not true. Even assuming the issue for appeal were limited to trial management

                          10    decisions, which they are not, trial management decisions (just as with district court
                          11
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                                trial management decisions) are subject to the highly deferential standard that
                          12

                          13    requires a showing of abuse of discretion.          Redline Detection, LLC v. Star

                          14    Envirotech, Inc., 811 F.3d 435, 441-42 (Fed. Cir. 2015) (holding that the PTAB’s
                          15
                                interpretation of the supplementation rules was reasonable). There is nothing
                          16

                          17    unusual or unreasonable about the PTAB denying Defendants’ motions as
                          18    Defendants were seeking extraordinary relief inconsistent with the statutes and
                          19
                                controlling precedent.
                          20
                          21           Defendants were not entitled to “supplement” the record because the PTAB
                          22    found that the Defendants’ purported supplementation was not a supplementation
                          23
                                but rather an entirely new argument different than the argument in its petition;
                          24

                          25    indeed, Defendants’ purported “supplement” identified different allegedly
                          26    invalidating aspects of the prior art than Defendants identified in their petition. Case
                          27
                                IPR2018-00082, Paper 22 at 9-10 (rejecting Defendants’ purported supplementation
                          28
                                 JOINT STATUS REPORT REGARDING INTER PARTES   4
                                 REVIEW PROCEEDINGS
                       Case 8:16-cv-01790-JVS-AGR Document 162 Filed 05/13/19 Page 7 of 22 Page ID #:2675



                           1    because it presented “a wholly new argument”). In an IPR, however, Defendants’

                           2    must disclose their complete arguments in their initial petition.                     Intelligent
                           3
                                BioSystems, Inc. v. Illumina Cambridge Ltd., 821 F.3d 1359, 1369 (Fed. Cir. 2016)
                           4

                           5    (citing 35 U.S.C. § 312(a)(3)).4

                           6              Defendants were similarly not entitled to submit a reply (likely intended to
                           7
                                raise the new arguments already forbidden by the PTAB’s order on supplementation)
                           8

                           9    because a reply is only permitted to address arguments raised in an opposition by the

                          10    patent owner, not the initial findings by the PTAB. IPR2018-00082, Paper 22 at 2-
                          11
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                                3 (quoting 37 C.F.R. § 42.23(b)). SPEX did not submit substantive arguments in
                          12

                          13    response to Defendants’ petitions. The PTAB further considered, and rejected,

                          14    Defendants’ due process argument because Defendants had the opportunity to
                          15
                                address their new arguments in their initial petition but chose not to. IPR2018-
                          16

                          17    00082, Paper 32 at 5. The PTAB also noted that Defendants had the opportunity to
                          18    seek a rehearing on the institution decision, but again made the affirmative choice
                          19
                                not to seek such relief. Id. at 5-6.
                          20
                          21              The scope of the estoppel as a result of Defendants’ unsuccessful IPR petitions
                          22    is also unquestionable, despite Defendants’ arguments to the contrary. Seeking an
                          23
                                IPR is not cost-free; Congress expressly set forth that there are consequences for
                          24

                          25
                                4  Ultratec Inc., v. CaptionCall, LLC, 872 F.3d 1267 (Fed. Cir. 2017), cited by Defendants, is
                          26    irrelevant here because the testimony sought to be supplemented in that case was (1) trial
                          27    testimony; (2) from the same expert; and (3) did not change petitioner’s argument. Id. at 1272-73.
                                None of those factors applies here. Further, unlike the proceeding addressed in Ultratec, the Board
                          28    here did allow Defendants to fully brief their positions on the record, and entered an order
                                explaining its reasoning.
                                  JOINT STATUS REPORT REGARDING INTER PARTES      5
                                    REVIEW PROCEEDINGS
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                           1    Defendants if an IPR proceeding is unsuccessful. In particular, after the issuance of

                           2    a Final Written Decision, 35 U.S.C. § 315(e)(2) estops Defendants from raising “any
                           3
                                ground that the petitioner raised or reasonably could have raised during the inter
                           4

                           5    partes review.” Id. (emphasis added). The PTAB found that Defendants could have

                           6    raised its new invalidity arguments but chose to raise different arguments. They are
                           7
                                now estopped. From a policy perspective, this makes sense. The payment created
                           8

                           9    by Congress in exchange for using the IPR process is a simplification (or

                          10    nullification) of the invalidity process during a follow-on trial. Defendants should
                          11
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                                not able to make one argument to the PTAB and, when unsuccessful, make a
                          12

                          13    different argument to the district court as they appear to intend to argue here.

                          14           Kingston’s three additional pending appeals are related only to the ‘135 patent
                          15
                                (not asserted against the other Defendants), and also do not increase the chances of
                          16

                          17    success in overturning the Final Written Decisions of the PTAB. Two of the appeals
                          18    are subject to Orders to Show Cause as to why the Federal Circuit has jurisdiction
                          19
                                to hear the appeal at all. Kingston Tech. Co., Inc. v. SPEX Techs., Inc., Case No.
                          20
                          21    2019-1342 at Dkt. 6 (Fed. Cir.); Kingston Tech. Co., Inc. v. SPEX Techs., Inc., Case
                          22    No. 2019-1599 at Dkt. 28 (Fed. Cir.). Kingston’s appeals are unlikely to succeed
                          23
                                because, in both appeals, it is appealing an institution decision by the PTAB, which
                          24

                          25    is forbidden by statute. 35 U.S.C. § 314(d) (“The determination by the Director
                          26    whether to institute an inter partes review under this section shall be final and
                          27
                                nonappealable.” (emphasis added)); see also 35 U.S.C. § 319 (appeals by parties
                          28
                                 JOINT STATUS REPORT REGARDING INTER PARTES   6
                                 REVIEW PROCEEDINGS
                       Case 8:16-cv-01790-JVS-AGR Document 162 Filed 05/13/19 Page 9 of 22 Page ID #:2677



                           1    are allowed of final written decisions); 35 U.S.C. § 141(c) (same). In Case No. 2019-

                           2    1342, Kingston is appealing an institution denial based on the estoppel that attached
                           3
                                as a result of Final Written Decisions in its previous, unsuccessful IPR petitions.
                           4

                           5    There is no statute or precedent supporting Kingston’s extraordinary requested relief

                           6    in violation of 35 U.S.C. § 315(e). In Case No. 2019-1599, Kingston is also
                           7
                                appealing the PTAB’s refusal to allow it to institute another attempt to establish a
                           8

                           9    post-estoppel third IPR proceeding against the ‘135 patent, this time by joining an

                          10    IPR proceeding initially submitted by Western Digital. Kingston lacks jurisdiction
                          11
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                                not only because it was not a party to the IPR, but also because the decision was
                          12

                          13    effectively a refusal to institute an IPR proceeding, a matter for which the applicable

                          14    statues do not authorize appeal. 35 U.S.C. § 314(d); 35 U.S.C. § 319; 35 U.S.C. §
                          15
                                141(c).
                          16

                          17           Kingston’s third appeal, Case No. 2019-1256, is an ordinary appeal in which
                          18    Kingston argues that the PTAB did not weigh the evidence properly, and therefore
                          19
                                came to the incorrect conclusion. As discussed above, such appeals have less than
                          20
                          21    a 25% chance of succeeding.
                          22           Accordingly, in the light of the fact that any streamlining of this case has
                          23
                                already occurred as a result of the issuances of the Final Written Decisions, and the
                          24

                          25    prejudice to SPEX in further delays, the Court should reject any request by
                          26    Defendants for a new stay, of uncertain length, pending appeal.
                          27
                                       DEFENDANTS’ POSITION
                          28
                                 JOINT STATUS REPORT REGARDING INTER PARTES   7
                                 REVIEW PROCEEDINGS
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                         1             In its May 16, 2018 Order, the Court explained that it “will evaluate[] any

                         2   further stay in light of the results before the PTAB.” See, e.g., Case No. 2:16-cv-
                         3
                             07349, Dkt. No. 75 at 6. Defendants respectfully request that the Court extend the
                         4

                         5   stay in this case until after the Federal Circuit issues a decision on Western Digital’s

                         6   appeal of the Board’s Final Written Decision on IPR2018-00082 (“’082 IPR”)
                         7
                             regarding the ’802 Patent. As explained in Western Digital’s notice of appeal, filed
                         8

                         9   on May 1, 2019, the appeal raises due process concerns arising from the Board’s

                        10   denial of Western Digital’s requests to “(i) supplement the record to include
                        11
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                             admissions made by Patent Owner’s experts that were made only after the Petition
                        12

                        13   was filed, and (ii) file a reply, with respect to the patent claims for which the Board

                        14   instituted review but did not find, based on the Petition, that Petitioner had a
                        15
                             reasonable likelihood of prevailing,” denials based in part on the manner in which
                        16

                        17   the Board interpreted what constitutes a new “ground” for unpatentability. See Case
                        18   IPR2018-00082, Paper 40 (Notice of Appeal). Thus, this appeal differs greatly from
                        19
                             the typical appeal (with a lower chance of success) that merely challenges how the
                        20
                        21   Board weighed the evidence before it. The appeal will address the only remaining
                        22   patent claims asserted by SPEX against Western Digital, Toshiba and Apricorn in
                        23
                             this litigation and two-thirds of the claims asserted against Kingston.5
                        24

                        25

                        26

                        27
                             5
                        28     Apricorn filed a Notice of Appeal on the same issues on May 2, 2019. Toshiba intends to file a
                             similar Notice of Appeal.
                              JOINT STATUS REPORT REGARDING INTER PARTES    8
                                 REVIEW PROCEEDINGS
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                         1          Defendants believe the appeal has a strong likelihood of success, and even

                         2   more, Defendants believe that the Board’s actions and interpretation of what
                         3
                             constitutes a new “ground” for unpatentability logically leads to the conclusion that
                         4

                         5   estoppel does not apply to the alleged “new ground,” as it could not have been raised

                         6   during the IPR because some of the evidence upon which it is based—admissions
                         7
                             elicited in depositions of SPEX’s experts in this case—did not exist when the
                         8

                         9   Petition was filed and the Board denied Western Digital’s requests to present

                        10   argument based on the evidence. 35 U.S.C. § 315(e)(2) (estoppel applies to “any
                        11
RUSS, AUGUST & KABAT




                             ground that the petitioner raised or reasonably could have raised during that inter
                        12

                        13   partes review”).

                        14          While SPEX’s statement argues the merits of the appeal, Defendants do not
                        15
                             believe that a joint status report should be used in this manner. Nonetheless, it bears
                        16

                        17   emphasizing that the PTAB “does not have unfettered discretion in these matters.”
                        18   Ultratec Inc., v. CaptionCall, LLC, 872 F.3d 1267, 1274 (Fed. Cir. 2017); see also
                        19
                             id. at 1272 (citing Redline Detection, LLC v. Star Envirotech, Inc., 811 F.3d 435,
                        20
                        21   442 (Fed. Cir. 2015), but finding no reasoned basis “why it would not be in the
                        22   interest of justice” to consider testimony from a party’s expert in the corresponding
                        23
                             litigation). Indeed, in Ultratec the Federal Circuit held that the PTAB abused its
                        24

                        25   discretion when it refused to allow supplementation of the record to include after-
                        26   arising testimony from one of the parties’ experts in the corresponding litigation. Id.
                        27
                             at 1275 (vacating and remanding the PTAB’s decision). The Defendants are faced
                        28
                              JOINT STATUS REPORT REGARDING INTER PARTES   9
                              REVIEW PROCEEDINGS
                       Case 8:16-cv-01790-JVS-AGR Document 162 Filed 05/13/19 Page 12 of 22 Page ID
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                         1   with a similar issue here—Defendants sought, and were denied, the opportunity to

                         2   supplement the record before the PTAB to include after-arising testimony from
                         3
                             SPEX’s experts in these litigations. Importantly, the admissions of SPEX’s experts
                         4

                         5   are not only directed to the prior art of record in the IPR, but also to the single claim

                         6   element that the Board found the IPR Petition did not adequately show. As such,
                         7
                             the Board’s decision is not simply a “trial management decision.” See id. at 1273
                         8

                         9   (after-arising testimony from experts is “highly relevant” and “no reasonable fact

                        10   finder would refuse to consider” this testimony). Defendants thus expect the Federal
                        11
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                             Circuit to similarly vacate and remand the PTAB’s decision here in order to reconcile
                        12

                        13   the inconsistent records in the District Court and the PTAB. As a result, a successful

                        14   appeal would resolve the only remaining issues between SPEX and Western Digital,
                        15
                             Toshiba, and Apricorn without the need for further Court intervention.
                        16

                        17          But if the Court lifts the stay now, the parties will likely ask the Court to
                        18   decide the proper scope of estoppel in view of the narrow interpretation of “ground
                        19
                             for unpatentability” the Board applied in its Final Written Decision. And given the
                        20
                        21   importance of this issue, if the party against whom the Court rules does not prevail
                        22   at trial, it will have motivation to appeal the Court’s decision regarding the scope of
                        23
                             estoppel, thereby creating the possibility of multiple trials and waste of judicial
                        24

                        25   resources.
                        26          Moreover, if this case proceeds, Defendants will be forced to expend
                        27
                             considerable resources defending and possibly going to trial on claims that the
                        28
                              JOINT STATUS REPORT REGARDING INTER PARTES   10
                              REVIEW PROCEEDINGS
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                         1   Federal Circuit could either find invalid or remand back to the PTAB for the

                         2   continuation of the IPR that resulted in the original stay (to include the testimony
                         3
                             that it previously refused to consider). It would inflict considerable prejudice on the
                         4

                         5   Defendants if they are required to proceed to trial on claims that will ultimately be

                         6   found invalid by the Federal Circuit or the PTAB on remand.
                         7
                                    At the same time, an extension of the stay also will not prejudice SPEX. As
                         8

                         9   the Court’s May 16, 2018 Order noted, SPEX is a non-practicing entity, and the ’802

                        10   and ’135 Patents have expired. Case No. 2:16-cv-07349, Dkt. No. 75 at 5. Moreover,
                        11
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                             SPEX’s assertions of prejudice due to the health status of two witnesses are based
                        12

                        13   on the same declarations over which the Court first issued the stay. Id. (finding this

                        14   concern speculative and noting that both witnesses have already been deposed).
                        15
                             Further, while the Court noted the “availability of further depositions to preserve the
                        16

                        17   witnesses’ trial testimony” during the stay, id., SPEX has not sought to avail itself
                        18   of this opportunity at any point during the stay.
                        19
                                    For all of these reasons, Defendants request that the Court extend the stay.
                        20
                        21   KINGSTON’S POSITION
                        22          Kingston joins fully with the statement set forth by Defendants collectively
                        23
                             supporting why the stay should be continued for all Defendants. However, Kingston
                        24

                        25   sets forth additional reasons as to why the case against Kingston should be
                        26   considered separately and why the continuation of a stay is particularly appropriate
                        27
                             given the unique facts underlying the Kingston case.
                        28
                              JOINT STATUS REPORT REGARDING INTER PARTES   11
                              REVIEW PROCEEDINGS
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                         1          SPEX has not dropped its allegations of infringement relating to the ’135

                         2   patent against Kingston, though it has done so against the other defendants. The
                         3
                             ’135 patent is currently the subject of three separate appeals at the Federal Circuit,
                         4

                         5   all of which may have an effect on the outcome of this case should Kingston prevail.

                         6   Unlike the appeals relating to the ’802 patent, these appeals are already ongoing.
                         7
                             With respect to the first appeal, Kingston submitted its opening brief over a month
                         8

                         9   ago. After seeking an extension, SPEX’s responsive brief is currently due on June

                        10   12, 2019. Assuming no further extensions, Kingston’s reply brief will be due on
                        11
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                             July 3, 2019; and oral argument may be expected before the end of the year. Though
                        12

                        13   the affirmance rate for the typical IPR appeal may be high, Kingston’s appeal is not

                        14   a typical one, as it raises significant legal issues regarding whether the Board can
                        15
                             require different level of detail between the ’135 patent and the prior art and whether
                        16

                        17   the Board violated APA principles by refusing to consider admissions from SPEX’s
                        18   litigation expert relating to the patentability of the challenged claims. These legal
                        19
                             issues set Kingston’s appeal apart from the typical “substantial evidence” appeal
                        20
                        21   from an IPR.
                        22          The other two appeals brought by Kingston involve the PTAB’s decisions to
                        23
                             deny Kingston joinder into the separate IPR proceedings filed originally by Western
                        24

                        25   Digital. Those proceedings which involve the same prior art that the PTAB already
                        26   used to invalidate the nearly identical claims in the ’802 patent will result in a
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                             decision of unpatentability for the ’135 patent when the Federal Circuit properly
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                         1   joins Kingston. In those matters, briefing regarding the jurisdiction of the Federal

                         2   Circuit has either been completed or is in progress. Kingston fully expects that the
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                             Court will find it has jurisdiction over each of these appeals, and that substantive
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                         5   briefing will be completed or at least well under way before the end of the year.

                         6   Kingston additionally plans to file a notice of appeal from the Board’s decision
                         7
                             regarding the ’802 patent, which Kingston also expects to be successful for the
                         8

                         9   reasons discussed above.

                        10          SPEX makes numerous arguments regarding the merits of Kingston’s appeals.
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                             Kingston believes these arguments are best suited for the Federal Circuit briefing—
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                        13   not a joint filing updating this Court of the status of pending IPRs. Kingston has

                        14   made its arguments to the Court, and Kingston has done so with the hope and
                        15
                             expectation that it will be successful. In particular, Kingston believes that it will
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                        17   succeed in its jurisdictional arguments because of the Federal Circuit’s recent en
                        18   banc decision limiting the scope of the “no appeal” provision SPEX references; and
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                             Kingston believes and expects that it will be successful on the merits for the reasons
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                        21   discussed above. This Court, however, need not guess at whether Kingston will be
                        22   successful on its appeals—it can simply wait for the Federal Circuit to make that
                        23
                             determination and keep this case stayed pending the appeal.
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                        25          In short, the fact that SPEX continues to assert the ’135 patent against
                        26   Kingston and not against the other defendants should warrant a separate
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                             determination by this Court as to whether the stay in Kingston’s case should be
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                         1   continued as a result of the additional complexities involving this patent. If any of

                         2   the pending appeals on the ’135 patent or the recently filed appeal on the ’802 patent
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                             find in favor of Kingston, the scope of any eventual trial will change considerably
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                         5   and indeed may be unnecessary. Given that SPEX will suffer no prejudice (as noted

                         6   above) and any additional delay can be adequately addressed with damages,
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                             continuation of the stay is additionally appropriate for Kingston for these reasons
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                         9   not present for the other Defendants.

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RUSS, AUGUST & KABAT




                                                                           Respectfully submitted,
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                             DATED: May 13, 2019                           RUSS, AUGUST & KABAT
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RUSS, AUGUST & KABAT




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                         1                                 SIGNATURE ATTESTATION

                         2          The undersigned attests that, pursuant to Local Rule 5-4.3.4(a)(2),
                         3
                             concurrence in the filing of this document has been obtained from counsel for all
                         4

                         5   other signatories listed, and on whose behalf the filing is submitted, and counsel

                         6   concur in the filing’s content and have authorized the filing.
                         7
                                                                           /s/ Benjamin T. Wang
                         8                                                     Benjamin T. Wang
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                         1                                 CERTIFICATE OF SERVICE

                         2          The undersigned hereby certifies that the foregoing document was filed
                         3
                             electronically in compliance with Local Rule CV-5(a) on May 13, 2018. As such,
                         4

                         5   this document was served on all counsel who have consented to electronic service.

                         6

                         7                                                 /s/ Benjamin T. Wang
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